Case 1:22-cv-01230-STA-jay Document 75-14 Filed 05/24/23 Page 1 of 3   PageID 1576




         EXHIBIT 13
Case 1:22-cv-01230-STA-jay Document 75-14 Filed 05/24/23 Page 2 of 3                        PageID 1577




                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

    CONSOLIDATED INDUSTRIES, LLC                      )
    d/b/a WEATHER KING PORTABLE                       )
    BUILDINGS,                                        )
                                                      )
           Plaintiff,                                 )
                                                      )   Civil Action No. l:22-cv-01230
    v.                                                )
                                                      )
    JESSE A. MAUPIN, BARRY D.                         )
    HARRELL, ADRIAN S. HARROD,                        )
    LOGAN C. FEAGIN, STEPHANIE L.                     )
    GILLESPIE, RYAN E. BROWN, DANIEL                  )
    J. HERSHBERGER, BRIAN L. LASSEN,                  )
    ALEYNA LASSEN, and AMERICAN                       )
    BARN CO., LLC,                                    )
                                                      )
           Defendants.                                )




         AMERICAN BARN CO., LLC'S FIRST SUPPLEMENTAL RESPONSES TO
               PLAINTIFF'S FIRST SET OF INTERROGATORIES AND
                         REQUESTS FOR PRODUCTION

          American Barn Co., LLC by and through its attorneys, states the following First

   Supplemental Responses to Plaintiffs First Set of Interrogatories and Request for Production.

                                        INTERROGATORIES

          3.      Identify each person or entity who has lent money to ABCO and, for each such

   person/entity: (a) set forth the nature, purpose, and amount of the loan; (b) set forth the dates of

   each loan; and (c) identify all documents related to the loan.

          SUPPLEMENTAL RESPONSE:

          Subject to and without waiving its previous objections, ABCO states that First Bank loaned

   it money for the formation of ABCO Rentals.


          70403823;!
Case 1:22-cv-01230-STA-jay Document 75-14 Filed 05/24/23 Page 3 of 3                       PageID 1578




          4.      Identify each person or entity who has otherwise invested in or provided financial

   support to ABCO (other than identified in response to the preceding interrogatories) and, with

   respect to each such person/entity: (a) set forth the nature, purpose, and amount of the

   investment/contribution; (b) set forth the dates of each investment/contribution; and (c) identify

   all documents related to the investment/contribution.

          SUPPLEMENTAL RESPONSE:

          None.



                                     DOCUMENT REQUESTS

          30.     All documents relating to the number of portable buildings sold by ABCO and its

   revenue and profits from the sale of buildings and other activities in the Portable Buildings

   Industry.

          SUPPLEMENTAL RESPONSE:

          ABCO will provide a spreadsheet providing this information. ABCO objects to this request

   as unduly broad, overly burdensome, and not proportional to the needs of the case.



    Date: May 10, 2023                                      /s/ Thomas G. Pasternak
                                                            Thomas G. Pasternak
                                                            AKERMAN LLP
                                                            71 South Wacker Drive, 47th Floor
                                                            Chicago, IL 60606
                                                            Tel. 312.634.5700
                                                            thomas.pasternak@akerman.com

                                                            Attorneys for Defendant
                                                            American Barn Co., LLC


                                                     -2-

          70403823;!
